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IN THE UNITED STATES DISTRICT COURT f "`
FOR THE wESTERN DISTRICT 0F TENNESSEE 95 AUG 30 p

 

   

WESTERN DIVISION H 3°' 32
sECURlTY FIRE PROTECTION, INC., W’D 95 *w¢»T’HC€UHr
Plaintiffs,
Vs. NO. 05-2353

ROBERT S. RUSSELL and SOUTHERN
FIRE & SECURITY, INC.,

Defendants.

 

ORDER OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

 

COMES NOW the Plaintiff, Security Fire Protection, Inc., pursuant to Rule 41 of the
Federal Rules of Civil Procedure, having given notice of voluntary dismissal, it is
OR_DERED, ADJUDGED AND DECREED that this cause is hereby dismissed Without

prejudice

 

  

GE J. DANIEL BREEN \
/
DATE; K( 30/ 03

 

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 25 in
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Honorable J. Breen
US DISTRICT COURT

